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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                           )
    v.                                     )   CASE NO. 22-cv-6684
                                           )
ROBERT L. MURRAY, JR.,                     )
                                           )   HON. MARY M. ROWLAND
                        Defendant.         )
                                           )

                                       STATUS REPORT

       Pursuant to the Court’s Order dated January 13, 2025 (see Dkt. No. 30) (the “January 13

Order”), Plaintiff United States Securities and Exchange Commission (“SEC”) respectfully

submits the following status report:

       1.      In the Court’s January 13 Order, the Court directed the SEC to report on the status

of the parallel criminal matter (see U.S. v. Murray, Case No. 22-cr-643 (N.D. Ill.) (the “Criminal

Matter”)) and the status of settlement discussions in this case. This case has been stayed since

February 2023 (see Dkt. No. 16) in light of the Criminal Matter.

       2.      According to the docket in the Criminal Matter, on January 14, 2025, Murray pled

guilty to one count of wire fraud (the “Guilty Plea”). See Dkt. No. 49 in the Criminal Matter.

       3.      According to the docket in the Criminal Matter, Murray’s sentencing hearing is

scheduled for April 30, 2025 before Judge Shah. See Dkt. 64 in the Criminal Matter.

       4.      As the SEC reported to this Court in the prior status report submitted in January

2025 (see Dkt. No. 29), the SEC’s counsel and Murray’s attorney in the Criminal Matter




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previously have discussed the possibility of settling this case once Judge Shah sentences Murray

in the Criminal Matter.

       5.      Neither the SEC’s counsel nor any SEC staff member has the authority to settle

this case; rather, the SEC staff may recommend a settlement to the SEC’s Commissioners, and

the SEC’s Commissioners then decide whether or not to settle the case. Only the SEC’s

Commissioners, and not SEC staff members, have the authority to settle the case.

       6.      Immediately after Murray’s April 30, 2025 sentencing in the Criminal Matter, the

SEC’s counsel will reach out to Murray’s attorney in the Criminal Matter to discuss the

possibility of settlement of this case. If settlement discussions between the SEC’s counsel and

Murray’s attorney in the Criminal Matter do not indicate a near-term prospect of settling this

case, then the SEC will seek to bring a resolution to this case on a non-consensual basis.

       7.      No later than May 16, 2025 -- or as otherwise ordered by the Court – the SEC will

file an additional status report. In that status report, the SEC’s counsel will inform the Court

about the status of post-sentencing settlement discussions between the parties. If the SEC’s

counsel does not believe that there is a near-term prospect of settling this case based on those

settlement discussions, then the SEC’s counsel will propose to the Court a plan for resolving this

case on a non-consensual basis.



Dated: April 15, 2025                         Respectfully submitted,

                                               UNITED STATES SECURITIES AND
                                               EXCHANGE COMMISSION

                                               By: /s/ Eric M. Phillips
                                               Eric M. Phillips (IL No. 6237871)
                                               175 West Jackson Blvd., Suite 1450
                                               Chicago, IL 60604
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on April 15, 2025, I electronically filed the foregoing document(s)

with the clerk of court for the U.S. District Court, Northern District Illinois, using the electronic

case filing system of the court.

       I also caused the following parties to be served via email:

       Robert L. Murray
       Email: murrayhawaii@gmail.com


                                                               /s/ Eric M. Phillips
                                                               Eric M. Phillips




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